                   Case 4:10-cr-00006-TWP-VTW                             Document 1148              Filed 09/21/15            Page 1 of 1 PageID #:
                                                                                 4224
         AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)              Page 1 of 2 (Page 2 Not for Public Disclosure)


                                                       UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                         Southern District
                                                                       __________ District of
                                                                                           ofIndiana
                                                                                              __________

                                     United States of America
                                                v.                                       )
                                          Joseph Cousins                                 )
                                                                                         )   Case No: 4:10CR00006-012
                                                                                         )   USM No: 11138-028
         Date of Original Judgment:                                    11/01/2013        )
         Date of Previous Amended Judgment:                                              )   Sara J. Varner
         (Use Date of Last Amended Judgment if Any)                                           Defendant’s Attorney


                                     ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                              PURSUANT TO 18 U.S.C. § 3582(c)(2)
                 Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
         § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
         subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
         § 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
         and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
         IT IS ORDERED that the motion is:
                    u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
         the last judgment issued) of   36                      months is reduced to 33 months*                           .
                                                              (Complete Parts I and II of Page 2 when motion is granted)




         Except as otherwise provided, all provisions of the judgment dated                              11/18/2013            shall remain in effect.
         IT IS SO ORDERED.

         Order Date:                     09/21/2015
                                                                                                                  Judge’s signature


         Effective Date:                     11/01/2015                                  Honorable Tanya Walton-Pratt, U.S. District Court Judge
                                      (if different from order date)                                            Printed name and title
A CERTIFIED TRUE COPY
Laura A. Briggs, Clerk
U.S. District Court
Southern District of Indiana

By
                      Deputy Clerk
